   1   JOAN M. GRIMES, ESQ.
       State Bar No. 121502
   2   LAW OFFICE OF JOAN GRIMES
       1600 S. Main Street, Suite 100
   3   Walnut Creek, CA 94596
       (925) 939-1680 Phone
   4   (925) 407-8373 Fax

   5   Attorney for Debtors

   6

   7                             UNITED STATES BANKRUPTCY COURT

   8                              NORTHERN DISTRICT OF CALIFORNIA

   9                                        OAKLAND DIVISION

  10

  11                                                      ) Case No.   13-41687-CN-13
                                                          )
  12                                                      ) Chapter 13
                                                          )
  13   Eric Robert Green                                  ) PROOF OF SERVICE
       Kathryn Kaye Green,                                )
  14                                                      )
                      Debtors.                            )
  15                                                      )
                                                          )
  16                                                      )

  17

  18          I am employed in the County of Contra Costa, California. I am over the age of eighteen

  19   (18) years old and I am not a party to this action. My business address is: Law Office of Joan

  20   M. Grimes, 1600 S. Main Street, Suite 100, Walnut Creek, CA 94596.

  21          On June 6, 2018 copies of the enclosed document(s):

  22          1.      Signed Final Order on Motion to Value Collateral of Wells Fargo Bank, NA as

  23                  Successor in Interest to Wachovia as Successor in Interest to World Savings Bank

  24                  (Second Deed of Trust) under § 506 and FRBP 3012

  25   are being served on the following parties by placing a true copy thereof in a sealed envelope(s),

  26   addressed as follows with all envelopes addressed to the authorized agent of process for:

  27

  28
       PROOF OF SERVICE                                                                              Page 1

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   1   VIA US MAIL
       Wells Fargo Bank, NA
   2   Attn: Officer
       101 N Phillips Ave
   3   Sioux Falls, SD 57104
   4   VIA US MAIL
       Request for Special Notice
   5   Capital One, NA
       Bass & Associates, PC
   6   3936 E. Ft. Lowell Road, Suite 200
       Tucson, AZ 85712
   7
       Request for Special Notice
   8   PITE DUNCAN, LLP
       4375 Jutland Drive, Suite 200
   9   P.O. Box 17933
       San Diego, CA 92177-0933
  10

  11
               [X]      (BY MAIL) As indicated above, by placing said envelope(s) with postage
  12   thereon fully prepaid for first-class mail, for collection and mailing at my place of business
       following ordinary business practice. I am readily familiar with the ordinary business practice
  13   for the collection and processing of mail. In the ordinary course of business, mail is deposited
       with the United States Postal Service on the same day as it is placed for collection.
  14
               [X]      (BY CERTIFIED MAIL) As indicated above, by placing said envelope(s) with
  15   postage thereon fully prepaid for certified mail, for collection and mailing at my place of
       business following ordinary business practice. I am readily familiar with the ordinary business
  16   practice for the collection and processing of mail. In the ordinary course of business, mail is
       deposited with the United States Postal Service on the same day as it is placed for collection.
  17
               I declare under penalty of perjury under the laws of the United States that the foregoing is
  18   true and correct. Executed June 5, 2018 at Walnut Creek, California.

  19

  20                                                 /s/ Lindsay Strong
                                                     Lindsay Strong
  21

  22

  23

  24

  25

  26
  27

  28
       PROOF OF SERVICE                                                                               Page 2

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